             Case:23-14516-JGR Doc#:1 Filed:10/04/23                                  Entered:10/04/23 13:28:36 Page1 of 40


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Pad Silverthorne, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  491 Rainbow Drive                                               PO Box 402, PMB 608
                                  Silverthorne, CO 80498-7000                                     Dillon, CO 80435
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Summit                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://thepadlife.com/silverthorne/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    The Pad Silverthorne, LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 1199

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    The Pad Silverthorne, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   The Pad Silverthorne, LLC                                                    Case number (if known)
         Name

                              $50,001 - $100,000                          $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                         $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                       $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    The Pad Silverthorne, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 4, 2023
                                                  MM / DD / YYYY


                             X /s/ Robert Baer                                                            Robert Baer
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Jonathan M. Dickey                                                      Date October 4, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jonathan M. Dickey
                                 Printed name

                                 Kutner Brinen Dickey Riley PC
                                 Firm name

                                 1660 Lincoln Street, Suite 1720
                                 Denver, CO 80264
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-832-2400                  Email address      jmd@kutnerlaw.com

                                 46981 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         The Pad Silverthorne, LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 4, 2023                 X /s/ Robert Baer
                                                           Signature of individual signing on behalf of debtor

                                                            Robert Baer
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case:23-14516-JGR Doc#:1 Filed:10/04/23                                                                        Entered:10/04/23 13:28:36 Page7 of 40

Fill in this information to identify the case:

Debtor name           The Pad Silverthorne, LLC

United States Bankruptcy Court for the:                      DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $       20,250,000.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           835,885.30

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $       21,085,885.30


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       15,498,646.85


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            99,485.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,054,015.86


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $         16,652,147.71




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
          Case:23-14516-JGR Doc#:1 Filed:10/04/23                                  Entered:10/04/23 13:28:36 Page8 of 40

Fill in this information to identify the case:

Debtor name         The Pad Silverthorne, LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Alpine Bank - Payroll                             Checking                              3144                                     $9,957.85




          3.2.     Alpine Bank - Operating Account                   Checking                              3185                                    $49,053.29



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $59,011.14
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Deposits with Third Parties                                                                                                      $1,313.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       The Pad Silverthorne, LLC                                                    Case number (If known)
             Name

          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                         $1,313.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     17,930.53      -                                 0.00 = ....                 $17,930.53
                                       face amount                          doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                       $17,930.53
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                                   Valuation method used   Current value of
                                                                                                   for current value       debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership


          15.1.   Interest in A-Bar CO, LLC                                    100         %                                          Unknown



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                                              $0.00
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                      page 2
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Debtor       The Pad Silverthorne, LLC                                                 Case number (If known)
             Name

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          See attached depreciation schedule                                 $406,410.00       Replacement                          $623,182.00


          Elevator                                                           $123,000.00       Replacement                          $123,000.00



51.       Total of Part 8.                                                                                                      $746,182.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor        The Pad Silverthorne, LLC                                                   Case number (If known)
              Name

           55.1.    Improved Real
                    Property Located at
                    491 Rainbow Drive,
                    Silverthorne, CO
                    80498                         Fee Simple                       Unknown            Appraisal                    $20,250,000.00




56.        Total of Part 9.                                                                                                      $20,250,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           Licenses and Permits Including:
           Sales Tax Exemption
           Businesss License
           ASCAP License                                                           Unknown                                               $1,095.00



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                           $1,095.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 4
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Debtor        The Pad Silverthorne, LLC                                                    Case number (If known)
              Name



Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


71.        Notes receivable
           Description (include name of obligor)
                                                                         10,353.63 -                                   0.00 =
           Due From The Pad Costa Rica                           Total face amount      doubtful or uncollectible amount                  $10,353.63



72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                            $10,353.63
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 5
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Debtor          The Pad Silverthorne, LLC                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $59,011.14

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $1,313.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $17,930.53

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $746,182.00

88. Real property. Copy line 56, Part 9.........................................................................................>                     $20,250,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $1,095.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $10,353.63

91. Total. Add lines 80 through 90 for each column                                                            $835,885.30           + 91b.           $20,250,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $21,085,885.30




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6
          Case:23-14516-JGR Doc#:1 Filed:10/04/23                                             Entered:10/04/23 13:28:36 Page14 of 40

Fill in this information to identify the case:

Debtor name         The Pad Silverthorne, LLC

United States Bankruptcy Court for the:           DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   BRMK Lending, LLC                            Describe debtor's property that is subject to a lien             $12,280,000.00            $20,250,000.00
      Creditor's Name                              Improved Real Property Located at 491
                                                   Rainbow Drive, Silverthorne, CO 80498
      1420 Fifth Ave., Suite 2000
      Seattle, WA 98101
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. BRMK Lending, LLC
      2. Lever Capital Funding,
      LLC
      3. Himmelman
      Construction, Inc.

      Himmelman Construction,
2.2                                                                                                                     $618,646.85           $20,250,000.00
      Inc.                                         Describe debtor's property that is subject to a lien
      Creditor's Name                              Improved Real Property Located at 491
                                                   Rainbow Drive, Silverthorne, CO 80498
      12560 W. Cedar Dr.
      Denver, CO 80228
      Creditor's mailing address                   Describe the lien
                                                   Mechanics Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
          Case:23-14516-JGR Doc#:1 Filed:10/04/23                                             Entered:10/04/23 13:28:36 Page15 of 40

Debtor       The Pad Silverthorne, LLC                                                             Case number (if known)
             Name

       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.
       Specified on line 2.1

2.3    Lever Capital Funding, LLC                  Describe debtor's property that is subject to a lien                   $2,600,000.00       $20,250,000.00
       Creditor's Name                             Improved Real Property Located at 491
                                                   Rainbow Drive, Silverthorne, CO 80498
       1919 14th Street, STE 700
       Boulder, CO 80302
       Creditor's mailing address                  Describe the lien
                                                   Deed of Trust
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.
       Specified on line 2.1

                                                                                                                            $15,498,646.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      85

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        BRMK Lending, LLC
        c/o Peter Murphy, Esq.                                                                               Line   2.1
        Markus Williams Young & Hunsiker, LLC
        1775 Sherman St., STE 1950
        Denver, CO 80203




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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Fill in this information to identify the case:

Debtor name        The Pad Silverthorne, LLC

United States Bankruptcy Court for the:         DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $99,485.00         $0.00
          Colorado Department of Revenue                       Check all that apply.
          1881 Pierce Street                                      Contingent
          Attn: Bankruptcy Dept., RM 104                          Unliquidated
          Lakewood, CO 80215                                      Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Sales Taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                             Contingent
          Philadelphia, PA 19101-7346                             Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice Purposes Only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 5
                                                                                                               48404
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Debtor      The Pad Silverthorne, LLC                                                       Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Acierno & Company, LLC                                       Contingent
         436 Lincoln Street
                                                                      Unliquidated
         Denver, CO 80203
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Subcontractor - Notice Purposes Only

                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Allman Drywall, Inc.                                         Contingent
         87 Audrey Circle
                                                                      Unliquidated
         Breckenridge, CO 80424
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Subcontractor - Notice Purposes Only

                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $17,703.00
         American Express                                             Contingent
         P.O. Box 640448                                              Unliquidated
         Dallas, TX 75265-0448                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $200,000.00
         Ashley Parrish                                               Contingent
         8910 N. May Ave.                                             Unliquidated
         Oklahoma City, OK 73120                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,183.00
         Colorado Mechanical Systems, LLC                             Contingent
         7094 S. Revere Pkwy, #100                                    Unliquidated
         Centennial, CO 80112                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Concrete Floor Systems, LLC                                  Contingent
         9231 S. Roadrunner Street
                                                                      Unliquidated
         Littleton, CO 80129
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Subcontractor - Notice Purposes Only

                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $46,000.00
         Kevin Bowen                                                  Contingent
         358 Blue River Pkwy, Unit E-110                              Unliquidated
         Silverthorne, CO 80498                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Unpaid Severance Payments
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 5
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Debtor      The Pad Silverthorne, LLC                                                       Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,267.00
         Liberty Mutual                                               Contingent
         175 Berkeley Street                                          Unliquidated
         Boston, MA 02116                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $58,088.67
         Miller & Law, P.C.                                           Contingent
         1900 West Littleton Blvd.                                    Unliquidated
         Littleton, CO 80120                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Attorney Fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         MV Power Solutions, LLC                                      Contingent
         1500 W. Hampden Ave., Suite 2B
                                                                      Unliquidated
         Englewood, CO 80110
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Subcontractor - Notice Purposes Only

                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Orr Concrete                                                 Contingent
         259 Continental Court, Unit 201
                                                                      Unliquidated
         Breckenridge, CO 80424
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Subcontractor - Notice Purposes Only

                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,774.19
         Schindler Elevator Corporation                               Contingent
         6950 W JEFFERSON AVE STE 210                                 Unliquidated
         LAKEWOOD, CO 80235-2334                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $0.00
         Stan Miller                                                  Contingent
         13541 Highway 9
                                                                      Unliquidated
         Breckenridge, CO 80424
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Subcontractor - Notice Purposes Only

                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $20,000.00
         Stephanie Strauss                                            Contingent
         PO Box 251                                                   Unliquidated
         Silverthorne, CO 80498                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 5
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Debtor       The Pad Silverthorne, LLC                                                              Case number (if known)
             Name

3.15      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $475,000.00
          Steve Caragol                                                       Contingent
          PO Box 772428                                                       Unliquidated
          Steamboat Springs, CO 80477                                         Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.16      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Steve R. Burt d/b/a SRB Acoustics                                    Contingent
                                                                               Unliquidated
          Date(s) debt was incurred
                                                                               Disputed
          Last 4 digits of account number
                                                                           Basis for the claim: Subcontractor - Notice Purposes Only

                                                                           Is the claim subject to offset?         No    Yes

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $225,000.00
          Tracy Naggy                                                         Contingent
          PO Box 405                                                          Unliquidated
          Silverthorne, CO 80498                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Colorado Mechanical Systems, LLC
          c/o Jeffrey Ruebel                                                                        Line     3.5
          Ruebell & Quillen, LLC
                                                                                                           Not listed. Explain
          8461 Turnpike Dr. STE 206
          Westminster, CO 80031

4.2       Internal Revenue Service
          Insolvency Unit                                                                           Line     2.2
          1999 Broadway
                                                                                                           Not listed. Explain
          MS 5012 DEN
          Denver, CO 80202-3025

4.3       Office of the Attorney General
          US Department of Justice                                                                  Line     2.2
          950 Pennsylvania Avenue, NW
                                                                                                           Not listed. Explain
          Suite 4400
          Washington, DC 20530-0001

4.4       Office of the Attorney General
          State of Colorado                                                                         Line     2.1
          1300 Broadway, 8th Floor
                                                                                                           Not listed. Explain
          Denver, CO 80203

4.5       Office of the US Attorney
          District of Colorado                                                                      Line     2.2
          1225 Seventeenth Street
                                                                                                           Not listed. Explain
          Suite 700
          Denver, CO 80202-2628

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5
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Debtor      The Pad Silverthorne, LLC                                                   Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                       related creditor (if any) listed?            account number, if
                                                                                                                                    any
4.6       State of Colorado
          Division of Securities                                                       Line     2.1
          1560 Broadway, Suite 900
                                                                                              Not listed. Explain
          Denver, CO 80202-5150


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                              5a.         $                     99,485.00
5b. Total claims from Part 2                                                              5b.    +    $                  1,054,015.86

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.         $                    1,153,500.86




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 5 of 5
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Fill in this information to identify the case:

Debtor name       The Pad Silverthorne, LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      The Pad Silverthorne, LLC

United States Bankruptcy Court for the:   DISTRICT OF COLORADO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         The Pad Silverthorne, LLC

United States Bankruptcy Court for the:    DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,862,536.96
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $2,060,668.48
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $380,319.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case:23-14516-JGR Doc#:1 Filed:10/04/23                                    Entered:10/04/23 13:28:36 Page24 of 40
Debtor       The Pad Silverthorne, LLC                                                          Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              See attached                                                                                 $0.00              Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address
      7.1.    Brmk Lending, LLC v. The                 Receivership/Brea           Summit County District                          Pending
              Pad Silverthorne, LLC                    ch of Promissory            Court                                           On appeal
              2023CV030113                             Note
                                                                                                                                   Concluded

      7.2.    Kevin Bowen v. The Pad                   Breach of                   Summit County District                          Pending
              Silverthorne, LLC, Lynne                 Contract                    Court                                           On appeal
              Baer, Robert Baer
                                                                                                                                   Concluded
              2023CV030109




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              Case title                              Nature of case              Court or agency's name and             Status of case
              Case number                                                         address
      7.3.    Colorado Mechanical                     Mechanic's Lien             Summit County District                      Pending
              Systems, Inc. v. The Pad                                            Court                                       On appeal
              Silverthorne, LLC, Acierno
                                                                                                                              Concluded
              and Company, LLC, Allman
              Dywall, Inc., Concrete Floor
              Systems, LLC, Himmelman
              Construction, Inc., My Power
              Solutions, LLC, Orr Concrete,
              Inc., Precision Construction
              West, Inc., Stan Miller, Inc.,
              Steve R. Burr
              2022CV030047

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None

      Custodian's name and Address                    Describe the property                                                   Value
      BRMK Lending, LLC                               Debtor's Real Property and Hotel Operations
                                                                                                                                               Unknown
      c/o Peter Murphy, Esq.
      Markus Williams Young &                         Case title                                                              Court name and address
      Hunsiker, LLC                                   BRMK Lending, LLC v. The Pad Silverthorn                                Summit County District
      1775 Sherman St., STE 1950                      Case number                                                             Court
      Denver, CO 80203                                2023CV30113                                                             PO Box 269
                                                      Date of order or assignment                                             501 North Park
                                                      September 14, 2023                                                      Breckenridge, CO 80424


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value

      9.1.    Mountain Pride                          Donation
              110 E. Beaver Creek Blvd
              Avon, CO 81620                                                                                    7/3/23                         $9,352.50

              Recipients relationship to debtor
              None


      9.2.    The Trevor Project                      Donation
              PO Box 69232
              West Hollywood, CA 90069                                                                          7/3/23                         $6,352.90

              Recipients relationship to debtor
              None


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None


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      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

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16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Information regarding guest stays, drivers license, credit card
                 information
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information


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For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        James Caswell                                                                                                      2021-Current
                    Casswell & Associates
                    PO Box 260699
                    Lakewood, CO 80226

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


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    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        James Caswell
                    Casswell & Associates
                    PO Box 260699
                    Lakewood, CO 80226
      26c.2.        Lynne & Robert Baer
                    491 Rainbow Drive
                    Silverthorne, CO 80498-7000

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Lynne Baer                              PO Box 402, PMB 608                                 Manager
                                              Dillon, CO 80435

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Robert Baer                             PO Box 402, PMB 608                                 Manager
                                              Dillon, CO 80435

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      James J. Alexander Trust                61 Silver Circle                                    Member                                    1.025% Equity
                                              Breckenridge, CO 80424                                                                        Interest

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Katherine Baer                          204 Old Barn Lane                                   Member                                    1.5% Equity
                                              Chapel Hill, NC 27517                                                                         Interest

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Four Points Funding, LLC                PO Box 770740                                       Member                                    0.2% Equity
                                              Steamboat Springs, CO 80477                                                                   Interest

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Steve Caragol                           PO Box 772428                                       Member                                    2% Equity
                                              Steamboat Springs, CO 80477                                                                   Interest


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      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      The Bean Farm Pension             786 Blue Ridge Road                               Member                       0.5% Equity
      Plan                              Silverthorne, CO 80498                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Dan Duke                          42 Guyot Lane                                     Member                       0.5% Equity
                                        Dillon, CO 80435                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Diane Duke                        42 Guyot Lane                                     Member                       0.5% Equity
                                        Dillon, CO 80435                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Nellie Garrett                    PO Box 2284                                       Member                       0.025% Equity
                                        Silverthorne, CO 80498                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Candy Elkind                      PO Box 177                                        Member                       0.05% Equity
                                        Frisco, CO 80443                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      ESM Loft, LLC                     575 Bannock St., STE B                            Member                       3% Equity
                                        Boise, ID 83702                                                                Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      David Engbrock                    13735 Bayberry Dr.                                Member                       6.5% Equity
                                        Broomfield, CO 80020                                                           Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Brandon Geisler                   13 Golden Eagle Ln                                Member                       0.6% Equity
                                        Littleton, CO 80127                                                            Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Paul Heesaker                     355 Chipmunk Circle                               Member                       1.5% Equity
                                        Silverthorne, CO 80498                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Natalie Hogan                     2007 Magowan Dr.                                  Member                       1% Equity
                                        Santa Rosa, CA 95405                                                           Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Mark Hogan                        2206 Hamilton Creek Rd.                           Member                       0.775% Equity
                                        Silverthorne, CO 80498                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Susanne Hogan                     2206 Hamilton Creek Rd.                           Member                       0.775% Equity
                                        Silverthorne, CO 80498                                                         Interest




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      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Sara C. Hopkins Irrevocable       PO Box 330                                        Member                       0.5% Equity
      Trust                             Silverthorne, CO 80498                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Kenneth Howk                      1447 Ardmore St. SE                               Member                       0.5% Equity
                                        Grand Rapids, MI 49507                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Danielle Howk                     1447 Ardmore St., SE                              Member                       0.5% Equity
                                        Grand Rapids, MI 49507                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Will Jennings                     105 E. 35th St., Apt. 1                           Member                       0.5% Equity
                                        New York, NY 10016                                                             Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      JM Mountain Investments,          PO Box 4953                                       Member                       1% Equity
      LLC                               Frisco, CO 80443                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Amy M. Kemp                       PO Box 8493                                       Member                       0.3% Equity
                                        Breckenridge, CO 80424                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Jon R. Kirkpatrick                PO Box 1549                                       Member                       5% Equity
                                        Silverthorne, CO 80498                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Carol L. Laycob                   924 Anaconda Dr.                                  Member                       1.5% Equity
                                        Castle Rock, CO 80108                                                          Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Jordan Laycob                     3 Crest Rd.                                       Member                       0.78750%
                                        Englewood, CO 80113                                                            Equity
                                                                                                                       Interest
      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Kimberly Laycob                   3 Crest Rd.                                       Member                       0.78750%
                                        Englewood, CO 80113                                                            Equity
                                                                                                                       Interest
      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Joseph Likeman                    10708 Wildwood Dr.                                Member                       0.275% Equity
                                        Richland, MI 49083                                                             Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Madison Lukeman                   10708 Wildwood Dr.                                Member                       0.275% Equity
                                        Richland, MI 49083                                                             Interest




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      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Louis M. Luna                     PO Box 501                                        Member                       0.05% Equity
                                        Frisco, CO 80443                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Munish Malhotra                   38 Newport St.                                    Member                       1.05% Equity
                                        Denver, CO 80230                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Michael Margolf                   995 S. Garfield                                   Member                       1% Equity
                                        Denver, CO 80209                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Meade Development, LLC            3945 Jason St.                                    Member                       1.5% Equity
                                        Denver, CO 80211                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Scott Merkle                      PO Box 65                                         Member                       0.05% Equity
                                        Silverthorne, CO 80498                                                         Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Mark Novotny                      PO Box 367                                        Member                       1.05% Equity
                                        Frisco, CO 80443                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Mark Paton                        28 Red Fox Ln                                     Member                       2% Equity
                                        Littleton, CO 80127                                                            Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Dave Pettigrew                    32855 County Road 20                              Member                       1.05% Equity
                                        Steamboat Springs, CO 80487                                                    Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Hyun Pettigrew                    19783 N. Los Altos Way                            Memeber                      1% Equity
                                        Surprise, AZ 85374                                                             Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Juhree Wendl                      PO Box 5472                                       Member                       2% Equity
                                        Frisco, CO 80443                                                               Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      CTW Investments, LLC              2501 Alta Vista Drive                             Member                       1.2% Equity
                                        Newport Beach, CA 92660                                                        Interest

      Name                              Address                                           Position and nature of any   % of interest, if
                                                                                          interest                     any
      Manitou, LLC                      336 17th Ave.                                     Member                       1% Equity
                                        San Francisco, CA 94121                                                        Interest




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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Martha A. Zelski                       PO Box 719                                          Member                                  0.25% Equity
                                             Keene Valley, NY 12943                                                                      Interest

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Tad Zelski                             PO Box 719                                          Member                                  0.25% Equity
                                             Keene Valley, NY 12943                                                                      Interest

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      David Schulman                         420 N. Market St.                                   Member                                  0.5% Equity
                                             Baltimore, MD 21201                                                                         Interest

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Susan Schulman                         420 N. Market St.                                   Member                                  0.5% Equity
                                             Baltimore, MD 21201                                                                         Interest

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      The Pad Hostels, LLC                   PO Box 921                                          Member                                  49.15% Equity
                                             Silverthorne, CO 80498                                                                      Interest

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Peter Duke                             PO Box 2284                                         Member                                  0.025% Equity
                                             Silverthorne, CO 80498                                                                      Interest

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Sam Schneider                          2017 Frampton Ave.                                  Member                                  0.75% Equity
                                             Charleston, SC 29412                                                                        Interest

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Kevin Bowen                            PO Box 2301                                         Member                                  1.25% Equity
                                             Silverthorne, CO 80498                                                                      Interest

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Brian Bostwick                         PO Box 2017                                         Member                                  2% Equity
                                             Fairplay, CO 80440                                                                          Interest

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Jacinta Mason                          444 Blue Sage Cir.                                  Member                                  6% Equity
                                             Steamboat Springs, CO 80487                                                                 Interest



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?


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           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Lynne Baer                                  Salary of $35,000/year; Paid
      .    PO Box 402, PMB 608                         $25,576.85(gross) from January 1, 2023
             Dillon, CO 80435                          through September 22, 2023                                2022-2023         Salary

             Relationship to debtor
             Manager


      30.2 Robert Baer                                 Salary of $65,000/year; Piad $48,638.93
      .    PO Box 402, PMB 608                         (gross) from January 1, 2023 through
             Dillon, CO 80435                          September 22, 2023                                        2022-2023         Salary

             Relationship to debtor
             Manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         October 4, 2023

/s/ Robert Baer                                                 Robert Baer
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 12
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                                                   United States Bankruptcy Court
                                                               District of Colorado
 In re    The Pad Silverthorne, LLC                                                                       Case No.
                                                                           Debtor(s)                      Chapter       11

                                               LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                 Security Class Number of Securities                          Kind of Interest
business of holder
Amy M. Kemp                                                                  0.3% Interest
PO Box 8493
Breckenridge, CO 80424

Brandon Geisler                                                              0.6% Interest
13 Golden Eagle Ln
Littleton, CO 80127

Brian Bostwick                                                               2% Interest
PO Box 2017
Fairplay, CO 80440

Candy Elkind                                                                 0.05% Interest
PO Box 177
Frisco, CO 80443

Carol L. Laycob                                                              1.5% Interest
924 Anaconda Dr.
Castle Rock, CO 80108

CTW Investments, LLC                                                         1.2% Interest
2501 Alta Vista Drive
Newport Beach, CA 92660

Dan Duke                                                                     0.5% Interest
42 Guyot Lane
Dillon, CO 80435

Danielle Howk                                                                0.5% Interest
1447 Ardmore St., SE
Grand Rapids, MI 49507

Dave Pettigrew                                                               1.05% Interest
32855 County Road 20
Steamboat Springs, CO 80487

David Engbrock                                                               6.5% Interest
13735 Bayberry Dr.
Broomfield, CO 80020

David Schulman                                                               0.5% Interest
420 N. Market St.
Baltimore, MD 21201




Sheet 1 of 5 in List of Equity Security Holders
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In re:    The Pad Silverthorne, LLC                                                      Case No.
                                                                        Debtor(s)



                                              LIST OF EQUITY SECURITY HOLDERS
                                                              (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Diane Duke                                                               0.5% Interest
42 Guyot Lane
Dillon, CO 80435

ESM Loft, LLC                                                            3% Interest
575 Bannock St., STE B
Boise, ID 83702

Four Points Funding, LLC                                                 0.2% Interest
PO Box 770740
Steamboat Springs, CO 80477

Hyun Pettigrew                                                           1% Interest
19783 N. Los Altos Way
Surprise, AZ 85374

Jacinta Mason                                                            6% Interest
444 Blue Sage Cir.
Steamboat Springs, CO 80487

James J. Alexander Trust                                                 1.025% Interest
61 Silver Circle
Breckenridge, CO 80424

JM Mountain Investments, LLC                                             1% Interest
PO Box 4953
Frisco, CO 80443

Jon R. Kirkpatrick                                                       5% Interest
PO Box 1549
Silverthorne, CO 80498

Jordan Laycob                                                            0.78750% Interest
3 Crest Rd.
Englewood, CO 80113

Joseph Lukeman                                                           0.275% Interest
10708 Wildwood Dr.
Richland, MI 49083

Juhree Wendl                                                             2% Interest
PO Box 5472
Frisco, CO 80443

Katherine Baer                                                           1.5% Interest
204 Old Barn Lane
Chapel Hill, NC 27517


List of equity security holders consists of 5 total page(s)
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In re:    The Pad Silverthorne, LLC                                                      Case No.
                                                                        Debtor(s)



                                              LIST OF EQUITY SECURITY HOLDERS
                                                              (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Kenneth Howk                                                             0.5% Interest
1447 Ardmore St. SE
Grand Rapids, MI 49507

Kevin Bowen                                                              1.25% Interest
PO Box 2301
Silverthorne, CO 80498

Kimberly Laycob                                                          0.78750% Interest
3 Crest Rd.
Englewood, CO 80113

Louis M. Luna                                                            0.05% Interest
PO Box 501
Frisco, CO 80443

Madison Lukeman                                                          0.275% Interest
10708 Wildwood Dr.
Richland, MI 49083

Manitou, LLC                                                             !% Interest
336 17th Ave.
San Francisco, CA 94121

Mark Hogan                                                               0.775% Interest
2206 Hamilton Creek Rd.
Silverthorne, CO 80498

Mark Novotny                                                             1.05% Interest
PO Box 367
Frisco, CO 80443

Mark Paton                                                               2% Interest
28 Red Fox Ln
Littleton, CO 80127

Martha A. Zelski                                                         0.25% Interest
PO Box 719
Keene Valley, NY 12943

Meade Development, LLC                                                   1.5% Interest
3945 Jason St.
Denver, CO 80211

Michael Margolf                                                          1% Interest
995 S. Garfield
Denver, CO 80209


List of equity security holders consists of 5 total page(s)
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In re:    The Pad Silverthorne, LLC                                                      Case No.
                                                                        Debtor(s)



                                              LIST OF EQUITY SECURITY HOLDERS
                                                              (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities       Kind of Interest
business of holder

Munish Malhotra                                                          1.05% Interest
38 Newport St.
Denver, CO 80230

Natalie Hogan                                                            1% Interest
2007 Magowan Dr.
Santa Rosa, CA 95405

Nellie Garrett                                                           0.025% Interest
PO Box 2284
Silverthorne, CO 80498

Paul Heesaker                                                            1.5% Interest
355 Chipmunk Circle
Silverthorne, CO 80498

Peter Duke                                                               0.025% Interest
PO Box 2284
Silverthorne, CO 80498

Sam Schneider                                                            0.75% Interest
2017 Frampton Ave.
Charleston, SC 29412

Sara C. Hopkins Irrevocable Trust                                        0.5% Interest
PO Box 330
Silverthorne, CO 80498

Scott Merkle                                                             0.05% Interest
PO Box 65
Silverthorne, CO 80498

Steve Caragol                                                            2% Interest
PO Box 772428
Steamboat Springs, CO 80477

Susan Schulman                                                           0.5% Interest
420 N. Market St.
Baltimore, MD 21201

Susanne Hogan                                                            0.775% Interest
2206 Hamilton Creek Rd.
Silverthorne, CO 80498

Tad Zelski                                                               0.25% Interest
PO Box 719
Keene Valley, NY 12943


List of equity security holders consists of 5 total page(s)
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In re:    The Pad Silverthorne, LLC                                                                  Case No.
                                                                                 Debtor(s)



                                               LIST OF EQUITY SECURITY HOLDERS
                                                                   (Continuation Sheet)

Name and last known address or place of                     Security Class Number of Securities                             Kind of Interest
business of holder

The Bean Farm Pension Plan                                                        0.5% Interest
786 Blue Ridge Road
Silverthorne, CO 80498

The Pad Hostels, LLC                                                              49.15% Interest
PO Box 921
Silverthorne, CO 80498

Will Jennings                                                                     0.5% Interest
105 E. 35th St., Apt. 1
New York, NY 10016


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date October 4, 2023                                                     Signature /s/ Robert Baer
                                                                                        Robert Baer

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 5 total page(s)
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                                               United States Bankruptcy Court
                                                          District of Colorado
 In re    The Pad Silverthorne, LLC                                                              Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     October 4, 2023                                /s/ Robert Baer
                                                         Robert Baer/Manager
                                                         Signer/Title
